Case 7:11-cv-00257-JCT-RSB Document 109 Filed 05/22/14 Page 1 of 3 Pageid#: 1020
                                                                             CLERKS OFFICEU.
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                        FO R TH E W EST ERN DISTRIC T O F V IR G IN IA            JULIA .   EY L RK
                                    RO AN O K E DIV ISIO N                       BY;



  Ophelia A zrielD e'lonta,
              Plaint?
                                                     CivilActionNo.7:11-cv-00257

  Harold W .Clarke,eta1.,
              De# ndants.

                              STIPU LA TE D O R D ER O F D ISM ISSAL

         PursuanttoFederalRuleofCivilProcedure41(a)(1)(A)(ii),thepartiestothisaction,by
  and through theirundersigned counsel,filethisStipulated OrderofDismissal,asfollows;

                Thisactionisdismissedwithprejudice.
                Each party shallbearits own costsand fees.

  DATED this16th day ofM ay,2014.

                                      By:/s/Don Bradford Hardin.Jr.
                                      W ILM ER CUTLER PICK ERIN G
                                        H A LE AN D D ORR LLP
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                                      A ndrew Gale Sokol,adm ittedrro hac vice
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                                      250 G reenw ich Street
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                                      Tel.:(212)230-8800
                                      Fax:(212)230-8888
                                      CounselforPlaintt opheliaAzrielDe'lonta
Case 7:11-cv-00257-JCT-RSB Document 109 Filed 05/22/14 Page 2 of 3 Pageid#: 1021




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                              jisaacs@oag.state.va.us
                              CounselforDejkndants




  SO ORDEREDthisli da fMay,2014:
                  -




                                     i ,u>       .< y
                               The       b1e Jam esC.Turk
                               SeniorUnited StatesDistrictJudge    '



                                        -   2-
Case 7:11-cv-00257-JCT-RSB Document 109 Filed 05/22/14 Page 3 of 3 Pageid#: 1022




                                CER TIFICA TE O F SE RV ICE

         IHEREBY CERTIFY thatonthe 16th day ofM ay,2014,atrueand correctcopy ofthe

  foregoing Stipulated OrderofDism issalwaselectronically filed with the Clerk ofCourtusing

  the CW ECF system ,w hich w illsend notification ofsuch filing to a11Cotm selofRecord:



                                    By:/s/Don Bradford Hardin.Jr.
                                       DonBradfordHardin,Jr.(Va.BarNo.76812)
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                                       CounselforPlaint# opheliaAzrielDe'lonta
